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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:05CR378
                                               )
                     Plaintiff,                )
                                               )
              vs.                              )                     ORDER
                                               )
MARCO A. COVARRUBIAS,                          )
                                               )
                     Defendant.                )

       This matter is before the Court on the Defendant’s motion to continue the deadline

to object to the PSR (Filing No. 79).

       On May 23, 2006, the Court issued the Order on Sentencing Schedule. The

deadline for initial objections to the Presentence Investigation Report was July 7, 2006.

The final version of the PSR was submitted to the Court pursuant to the sentencing

schedule. The deadline for filing unresolved objections with the Court was July 24, 2006.

(Filing No. 62.) On July 24, 2006, defense counsel moved to continue the deadline for

filing objections to the PSR until August 7, 2006, for the reason that his trial preparation in

state court “prevented the parties from being able to meet and devote enough time to

adequately evaluate the need for objections.” (Filing No. 79.)

       The deadline for initial objections was July 7, 2006. Objections filed after the final

PSR has been prepared and delivered to the Court are not evaluated by the probation

officer in the PSR. The probation officer’s assessment of the objections often benefits the

Court. The motion, which apparently seeks to extend the deadline to object to the PSR,

was filed more than two weeks out of time, and the motion does not include information
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showing cause for the delay, or the need an extension of the time to file initial objections

in the interest of justice. Accordingly, the motion will be denied.

       IT IS ORDERED that the Defendant’s motion to continue the deadline to object to

the PSR (Filing No. 79) is denied.

       DATED this 26th day of July, 2006.

                                          BY THE COURT:

                                          s/Laurie Smith Camp
                                          United States District Judge
